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IN THE UNITED sTATEs DIsTRICT Co§‘leP B`{ f»/-- D'C-
FoR THE WESTERN DISTRICT oF TENNE:SS§E’FZG FH |_ 2b

 

WESTERN DIVISION
'i'l' V .
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RIS YATES’ § as a~ :.:t-, r-,t;~:~,asz:>
Plaintiff, )
)
vs. ) CIVIL ACTION NO.
) 04-2380~BV
)
CORRECTIONAL MEDICAL )
SERVICES, INC. _)
)
Defendant. )

 

ORDER GRANTING JOINT MOTION TO AMEND SCHEDULING ORDER TO
EXTENI) TIME F()R DISCOVERY AND TO FILE DISPOSITIVE MOTIONS

 

Before the Court is the parties’ Joint Motion to Arnend Scheduling Order to
Extend Time to Complete Discovery, and to File Dispositive Motions. For good cause
shown, it is hereby ORDERED, ADJUDGED, AND DECREED that the Scheduling
Order in this case is amended and that the parties shall have up to and including
September 10, 2005 to complete all Discovery, shall have up to and including October l,
2005 to complete Expert Witness Depositions, and the parties shall have up to and
including October 6, 2005 to file potentially Dispositive Motions in this case.

lt is further ORDERED, ADJUDGED AND DECREED, that this case is directed

into Mediation, and that the Mediation is to occur on or before October l0, 2005.

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with Rule 58 and/or 79(a) FRCP on

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UNITED STATES BTST'R~IGT JUDGE

I'WAZ,¢M/<¢cl?

 

Notice of Distribution

This notice confirms a copy of the document docketed as number l7 in
case 2:04-CV-02380 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

